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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Jose L. Parra
                                     Plaintiff,
v.                                                     Case No.: 1:18−cv−05936
                                                       Honorable Edmond E. Chang
Ocwen Loan Servicing LLC
                                     Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, December 17, 2018:


        MINUTE entry before the Honorable Edmond E. Chang: In light of the fully
briefed motion [15] to dismiss, the status hearing of 12/19/2018 is reset to 02/28/2019 at
10:00 a.m. Mailed notice (mw, )




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